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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA,                                 : CASE NO. 5:05 CR 00131
                                                           :
                                                Plaintiff, :
                                                           :
                            -vs-                           : ORDER GRANTING CONTINUANCE
                                                           : NUNC PRO TUNC TO 29 JUNE 2005
                                                           : (CLERICAL ERROR)
 JOHN R. SHREWDER,                                         :
 TRACY L. SHREWDER,                                        :
                                                           :
                                          Defendants.
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UNITED STATES DISTRICT JUDGE LESLEY WELLS


        Before this Court is John R. Shrewder’s and Tracy Shrewder’s motions, submitted

by counsel, for a continuance of this Court’s combined Conflict of Interest Hearing and

Bond Hearing as to defendants John and Tracy Shrewder, currently scheduled for 8 July

2005 at 1:30 p.m. (ECF # 350, 351). Mr. Shrewder’s counsel, Donald Malarcik, will be in

trial on that date in the already scheduled matter of State of Ohio v Marla Abe, Case No.

2005-01-0034, before the Honorable Judge Marvin Shapiro in the Summit County Court of

Common Pleas. Ms. Shrewder’s counsel, Joseph Gorman, will be in trial on that date in

the already scheduled matter of State of Ohio v. Christopher Mckeee, Case No. 2005-14-
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1447, before the Honorable Judge Brenda Burnham-Unruh. The government does not

object to the motion to continue the Hearing.

       The Court concludes that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial. Failure to grant

a continuance would deny defendants in this case the presence of his or her counsel at the

hearing itself. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv). Therefore, the Conflict of Interest and

Bond Hearing in this matter, as it pertains to both defendants John and Tracy Shrewder,

shall be continued. The Hearing is now scheduled for 9:00 a.m., 22 July 2005.


       IT IS SO ORDERED.




                                                      /s/ Lesley Wells


                                                UNITED STATES DISTRICT JUDGE




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